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                       Exhibit A

                     Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

CENTER CITY HEALTHCARE,LLC d/b/a                               Case No. 19-11466(KG)
HAHNEMANN UNIVERSITY HOSPITAL,
et czl.,l                                                      Jointly Administered

                                     Debtors.
                                                               Re: Docket Nos.      &


       ORDER AUTHORIZING TENET BUSINESS SERVICES CORPORATION ~iND
     CONIFER RE~TENUE CYCLE SOLUTIONS,LLC TO FILE EXHIBITS UNDER SEAL

          Upon the motion (the "Sealing Motion")2 of Tenet Business Services Corporation

("Tenet") and Conifer Revenue Cycle Solutions, LLC ("Conifer") for entry of an order (this

"Order"), (a) authorizing Tenet and Conifer to file under seal the exhibits (the `Exhibits")3

appended to the Motion of Tenet Business Services Corporation and Conifer Revenue Cycle

Solutions, LLC for Ef~try of an OYdeY (I) Co~npellzng Payment of All Ufapaid Postpetition

Amounts PuYsuaizt to II U.S.C. ~ 503(b)(1) or, in the Alterf~ative, (II) Granting Relieffrom the

Automatic Stay to the Extent Necessary to Terminate the TSA at2d MSA (the "Motion") and

(b) directing that the Exhibits shall remain under seal and confidential and not be made available

to anyone without the express consent of Tenet and Conifer', except to (i) the Court,


      The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number,
      are: Center City HealChcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher's
      Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
      SCHC Pediah~ic Associates, I,.L.C. (0527), SC. Christopher's Pediatric Ih•gent Care Center, L.L.C. (6447),
      SCHC Pediatric Anesthesia Associates, L.L.C.(2326), StChris Care at Northeast Pediatrics, L.L.C.(4056), TPS
      of PA, L.L.C.(4862), TPS ll of PA, L.L.C.(5534), TPS III of PA, L.L.C.(5536), TPS IV of PA, L.L.C.(5537),
      and TPS V of PA. L.L.C. (5540). The Debtors' mailing address is 230 North Broad Street, Yhiladel~hia,
      Pennsylvania 19102.

'-    Capitalized terms ~~sed but not otherwise defined herein have the meanings ascribed to them in the Motion.

      Tl~e Exhibits inchide (a) the termination notice Tenet and Conifer sent the Debtors on May 2, 2019,
      (b) tl~e TSA,(c) tl~e MSA, and (d) a dispute notice PAHS sent Tenet on November 20, 2018.
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(ii) the United States Trustee for the District of Delaware (the "U.S. Trustee"), (iii) the advisors

to the Official Cormnittee of Unsecw•ed Creditars (the "Committee") on a confidential,

"professionals' eyes only" basis, and (iv) MidCap Financial Trust, as DIP Lender; all as more

fully set forth in the Sealing Motion; and this Court having jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334 and the Amended StaT2ding Order ofReference from the United

States District Court for the District of Delaware, dated February 29, 2012; and that this Court

may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Sealing Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that Tenet and Conifer's

notice of the Sealing Motion and opportunity for a hearing on the Sealing Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Sealing Motion; and this Court having determined that the legal and factual bases

set forth in the Sealing Motion establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.      The Sealing Motion is granted as set forth herein.

        2.     Tenet and Conifer are authorized to file the Exhibits under seal, subject to further

order of the Court, pursuant to sections 105(a) and 107(b) of the Bankruptcy Code, Bankruptcy

Rule 9018, and Local Rule 9018-1.

        3.     Except upon further order of the Court after notice to Tenet and Conifer, the

Exhibits shall remain under seal, and shall not be made available to anyone without the express

consent of Tenet and Conifer, except that copies of the Exhibits shall be provided to

(i) the Court,(ii) the U.S. Trustee on a confidential basis, (iii) the advisors to the Committee, on



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a confidential, "professionals' eyes only" basis, and (iv) MidCap Financill Trust, as DIP lender.

Such parties sha11 be bound by this Order and shall at all times keep the provisions of the

Exhibits strictly confidential and shall not disclose the Exhibits or the contents thereof to any

party whatsoever.

       4.      Tenet and Conifer and any party authorized to receive copies of the Exhibits

pursuant to this Order shall, subject to Local Rule 9018-1(c): (a) redact specific references to the

Exhibits set forth therein from any and all pleadings filed on the public docket maintained in

these chapter 11 cases; and (b) not use or refer to any of the Exhibits in any hearing unless such

court has been properly sealed and restricted to the parties who have received the Exhibits

pursuant to this Order. The transcript of any hearing in which the Exhibits are used shall be filed

under seal.

       5.      This Order is without prejudice to the rights of any party in interest to seek to

unseal and make public any portion of the material filed under seal.

       6.      Tenet and Conifer are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Sealing Motion.

       7.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Dated:            , 2019
Wilmington, Delaware                  THE HONORABLE KEVIN GROSS
                                      UNITED STATES BANKRUPTCY JUDGE




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